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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF ALABAMA
                               SOUTHERN DIVISION

BOKF, N.A., as Indenture Trustee,
                                )
                                )
     Plaintiff,                 )
                                )
vs.                             )                     Civil Action No. 21-00028-KD-B
                                )
BAMA OAKS RETIREMENT, LLC,      )
SAINT SIMONS HEALTH CARE, LLC,  )
and MEDICAL CLINIC BOARD OF THE )
CITY OF MOBILE (SECOND),        )
                                )
     Defendants.                )

                                               ORDER

       This action is before the Court on the Receiver’s Motion to Approve Compensation for

Services Rendered and Expenses Incurred from September 1, 2021, through September 30, 2021

(the Fee Application) filed by Derek Pierce, managing partner of Healthcare Management Partners,

LLC (doc. 89). The Receiver seeks approval of compensation in the total amount of $8,320.00,

comprised of $7,000.00 for services performed, and expenses in the amounts of $1,200.00 for

services provided by HMP Metrics LLC, and $120.00 for accounting software (Id., p. 4).

       The Receiver asserts that he has managed, operated, and administered the Receivership

Estate in an “economical and efficient manner in compliance with the terms and conditions of the

Bond Documents and applicable law and in the best interest of the Receivership Estate’s creditors”

(Id., at p. 2). The Receiver also asserts that his “activities during the Application Period were

substantial, beneficial, and necessary for the fulfillment of the Receiver’s duties and obligations

pursuant to the Receiver Order” and that the services and expenses were reasonable and necessary

and performed for the benefit of the Receivership Estate (Id., p. 3-4).

       In support, the Receiver cites to certain provisions in the Order appointing the Receiver

(doc. 42). Specifically, paragraphs 8(xxx) and 36-38, which provide for an application process and

payment to the Receiver for a Management Fee and out-of-pocket expenses. Paragraph 37 states
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that the “Receiver shall receive from the Receivership Estate the greater of Seven Thousand

($7,000) per month (the “Minimum Monthly Fee”) or five (5%) percent of Net Revenues … (the

“Base Management Fee,” and collectively with the Minimum Monthly Fee, the “Management Fee”)

(Id., p. 21).

        The Receiver also states that the Facility’s books were not closed at the conclusion of the

Application Period. As a result, he seeks approval of fees in the amount of $7,000, the Minimum

Monthly Fee, but reserves the right to apply for payment of additional fees, based upon the Net

Revenues for the period ending September 30, 2021.1

        The Receiver also provides the Court with a detailed accounting of the services provided by

the Receiver or members of the Receiver’s LLC (doc. 89, Exhibit A). The Receiver explains that

members of the LLC were employed as necessary and appropriate and in the interest of economy.

        Upon consideration of the Motion/Fee Application, the detailed accounting of the services

provided, the Order appointing the Receiver, and the absence of any objection, the Motion (doc. 89)

is GRANTED. Accordingly, the Fee Application is approved, and the Receiver is directed to pay,

without further court order and at such times as the Receiver determines in his discretion that funds

are available, compensation in the amount of $7,000.00 for professional services rendered by the

Receiver in performing his duties and obligations and expenses in the amounts of $1,200.00 for

technology services and $120.00 for accounting software incurred during the September

Application Period, for a total of $8,320.00.

        DONE and ORDERED this the 29th day of November 2021.


                                                s/ Kristi K. DuBose
                                                KRISTI K. DuBOSE
                                                UNITED STATES DISTRICT JUDGE




        1
            To date, the Receiver has not applied for additional fees.

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